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                                                                        Monday, 14 March, 2022 11:42:56 AM
                                                                              Clerk, U.S. District Court, ILCD

               IN THE UNITED STATES DISTRICT COURT FOR THE
             CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

 KELLI ANDREWS,                                            )
                                                           )
                 Plaintiff,                                )   Case No. 18 C 1100
                                                           )
                 v.                                        )   Hon. Sue Myerscough, J.
                                                           )
 COUNTY OF SANGAMON, et al.,                               )   Hon. Tom Schanzle-Haskins, M.J.
                                                           )
                 Defendants.                               )

                                  NOTICE OF SETTLEMENT

       Plaintiff, by and through her undersigned counsel, files this notice to inform the Court

that Plaintiff has reached a settlement with the defendants that resolves all claims in this case.



 Dated: March 14, 2022                                           Respectfully submitted,
                                                                 /s/ Stephen H. Weil

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